 

   

Case 1:18-p0-01255-TCB Document 18 Filed 02/21/19 Page 1 oingm Pagpln# 93 .
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for the ‘i! FEB 2 l 20|9 |_L_}/
EASTERN DISTRICT OF VIRGINIA . _ ' ~---~.~..~.---~ --::R:.j
______-__________ f . /.
U.S.A. vs. Jonathan C. Thomas Docket No. 1:18P01255

 

 

Petition on Probation

COMES NOW Elissa F. Martins, PROBATION OFFICER OF THE COURT, presenting an official report
upon the conduct and attitude of Jonathan C. Thomas, who was placed on supervision by the Honorable
Theresa C. Buchanan, United States Magistrate Judge sitting in the Court at Alexandria, Virginia, on the 2_nd day
of Auggst, M, Who fixed the period of supervision at one § l 1 year, and imposed the general terms and conditions
heretofore adopted by the Court and also imposed special conditions and terms as follows:

-See Page 2-

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS

FOLLOWS:
See Attachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.

 

Returnable Date: 3/12/19 @ 10:00 AM
ORDER OF COURT I declare under the penalty of perjury that the
w foregoing is true and correct.
Co sidered and ordered this ‘:g!¢ day of ,
20 and ordered filed an made a part of the Executed on:

records in the above case.

 

Elissa F. Martins
U.S. Probation Officer
(703) 299-2309
/S/
v Theresa C. Buchanan Place Alexandria, Virginia
United States Magistrate Judge

 

TO CLERK'S OFFICE

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The Honorable Theresa Carrol Buchanan Page 2
RE: THOMAS, Jonathan C.

OFFENSE: Driving Under the Influence

SENTENCE: The defendant Was placed on one (1) year supervised probation with the following special
conditions: 1) The defendant shall serve five (5) days in jail (weekends/intermittent) at the direction of the
probation officer; 2) The defendant shall enter and successfully complete an alcohol treatment and/or education
program at the direction of the probation officer; 3) Commencing August 2, 2018 and continuing for the ONE
(1) YEAR the defendant may operate a motor vehicle ONLY, (a) to and from work, (b) during the course of
work, if requires as incident of employment, (c) to and from this court, the probation office and the alcohol
treatment program, and (d) to and from his medical appointments; and 4) The defendant shall pay a $400.00
tine, a $10.00 special assessment, and a $30.00 processing fee, all to be paid within TH[RTY (30) days.

ADJUSTMENT TO SUPERVISION: The defendant’s term of probation commenced on August 2, 2018.
Mr. Thomas’s adjustment to supervision has been marginal. Mr. Thomas completed the five (5) dayjail sentence
on November 11, 2018.

On January 17, 2019, Alexandria Alcohol Safety Action Program (ASAP) sent a non-compliance letter
informing the U.S. Probation Officer that Mr. Thomas Was instructed to obtain a treatment assessment but failed
to do so. However, Mr. Thomas participated in a substance abuse evaluation by the Alexandria Community
Services Board (CSB) on December 17, 2018, and they did not recommend treatment It is noted that this
evaluation was not received by ASAP. Due to this error, ASAP re-opened the case and Mr. Thomas is scheduled
to begin ASAP classes on February 23, 2019,

At the commencement of supervision, Mr. Thomas was employed with Normal Window Fashions, and was
terminated on October 30, 2018. He is presently self-employed. Due to his financial circumstances, Mr. Thomas
has not obtained a restricted driver’s license and reports he is not operating a motor vehicle. Mr. Thomas paid
the court fines and fees on or about October 5, 2018, which is the last date of recalculation according to the
Central Violations Bureau website.

VIOLATIONS: The following violations are submitted for the Court’s consideration.

STANDARD CONDITION: TRAVEL OUT OF THE COUNTRY WITHOUT PERMISSION
FROM THE COURT OR PROBATION OFFICER

On February 6, 2019, and February 10, 2019, the undersigned received several supervised release file hits from
U.S. Customs and Border Protection. When questioned, Mr. Thomas indicated he obtained a passport on
February 2, 2019, and subsequently traveled to the Dominican Republic from February 6, 2019 to February 10,
2019, for vacation with a friend. Mr. Thomas stated he did not want to “lose the trip”, as his friend had won the
trip and it needed to be used by a specific date. Mr. Thomas is fully aware of the policy and procedures to
request domestic and overseas travel but failed to follow the proper protocol and traveled overseas without
seeking prior authorization from this officer or the Court.

EFM/cdp

